Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 1 of 31 Page ID #:32719



    1   Thaddeus J. Stauber (Bar No. 225518)
          tstauber@nixonpeabody.com
    2   Sarah Erickson André (Bar No. 236145)
    3     sandre@nixonpeabody.com
        Aaron M. Brian (Bar No. 213191)
    4      abrian@nixonpeabody.com
        Irene Scholl-Tatevosyan (Bar No. 301568)
    5     itatevosyan@nixonpeabody.com
        NIXON PEABODY LLP
    6   300 South Grand Avenue, Suite 4100
    7   Los Angeles, CA 90071
        Tel: (213) 629-6000
    8   Fax: (213) 629-60011
    9   Attorneys for Defendant
  10    Thyssen-Bornemisza Collection Foundation

  11
  12                          UNITED STATES DISTRICT COURT

  13                        CENTRAL DISTRICT OF CALIFORNIA

  14
  15    DAVID CASSIRER, AVA CASSIRER,              Case No. 05-cv-03459-JFW (Ex)
        and UNITED JEWISH FEDERATION
  16    OF SAN DIEGO COUNTY, a
        California non-profit corporation,         DEFENDANT THYSSEN-
  17                                               BORNEMISZA COLLECTION
  18                Plaintiffs,                    FOUNDATION’S TRIAL BRIEF

  19          vs.                                  Judge:       Hon. John F. Walter
                                                   Crtrm:       16
  20    THYSSEN-BORNEMISZA                         Pre-Trial:   November 16, 2018
        COLLECTION FOUNDATION, an                  Trial:       December 4, 2018
  21    agency or instrumentality of the
  22    Kingdom of Spain,
  23                Defendant.
  24
  25
  26
  27
  28
                                                                     DEFENDANT’S TRIAL BRIEF
                                                                    Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 2 of 31 Page ID #:32720



    1                                            TABLE OF CONTENTS
    2                                                                                                                         Page
    3   PRELIMINARY STATEMENT ............................................................................... 1
    4   ARGUMENT ............................................................................................................. 2
    5
        I.       The Foundation Is the Owner of the Painting through Valid
    6            Conveyance ..................................................................................................... 2
    7            A.       Under Swiss law, the Baron was the Owner of the Painting ................ 2
    8                     1.       Under Swiss Law, Good Faith is Presumed ............................... 2
    9                     2.       There Is No Evidence that the Baron Acted in Bad Faith
  10                               When He Purchased the Painting ............................................... 3

  11                      3.       It Was Reasonable to Believe that One Could Obtain
                                   Good Title to the Painting from the Stephen Hahn Gallery
  12                               in 1976 ........................................................................................ 5
  13             B.       Under Spanish law, the Foundation Obtained Ownership of the
                          Painting in the 1993 Acquisition Agreement ...................................... 10
  14
  15    II.      The Foundation Is the Owner of the Painting under Spanish Laws of
                 Acquisitive Prescription ................................................................................ 10
  16
                 A.       The Foundation Obtained Good Title Under Spanish Civil Code
  17                      Article 1955’s Six-Year Acquisitive Prescription .............................. 10
  18             B.       The Foundation Obtained Good Title Under Spanish Civil Code
                          Article 1955’s Three-Year Good-Faith Acquisitive Prescription....... 11
  19
  20                      1.       Under Spanish Law, Good Faith is Presumed .......................... 11

  21                      2.       “Red Flag” Speculation Does Not Rebut the Foundation’s
                                   Presumption of Good Faith....................................................... 13
  22
                 C.       Spain’s Substantive Statute of Limitations (Extinctive
  23                      Prescription) Vests the Foundation with Ownership .......................... 14
  24             D.       Spanish Civil Code Article 1956 Does Not Apply ............................. 15
  25                           1. The Foundation Has Not Been Found (and Cannot Now
  26                              Be Found) Liable as an Accessory ........................................... 17
  27                           2. Even if Article 1956 Could Apply, Plaintiffs Cannot
                                  Demonstrate the Requisite Actual Knowledge......................... 22
  28
                                                                     i
                                                                                                  DEFENDANT’S TRIAL BRIEF
                                                                                                 Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 3 of 31 Page ID #:32721



    1   III.     Laches Bars Plaintiffs’ Claim ....................................................................... 23
    2   CONCLUSION........................................................................................................ 25
    3
    4
    5
    6
    7
    8
    9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                 ii
                                                                                             DEFENDANT’S TRIAL BRIEF
                                                                                            Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 4 of 31 Page ID #:32722



    1                                         TABLE OF AUTHORITIES
    2
                                                                                                                    Page(s)
    3
        Federal Cases
    4
        Boone v. Mech. Specialties Co.,
    5
          609 F.2d 956, 958 (9th Cir. 1979) ....................................................................... 24
    6
        Cassirer v. Thyssen-Bornemisza Collection Found.,
    7     862 F.3d 951 (9th Cir. 2017) ........................................................................ passim
    8
        Cassirer v. Thyssen-Bornemisza Collection Found.,
    9     153 F. Supp. 3d 1148 (C.D. Cal. 2015) ................................................... 11, 20, 21
  10    Cities Serv. Oil Co. v. Dunlap,
  11       308 U.S. 208 (1939) .............................................................................................. 3
  12    Erie R. Co. v. Tompkins,
           304 U.S. 64 (1938) ................................................................................................ 3
  13
  14    New York Life Ins. Co. v. Rogers,
          126 F.2d 784 (9th Cir. 1942) ............................................................................. 2, 3
  15
        Miller v. Glenn Miller Prods., Inc.,
  16
           454 F.3d 975 (9th Cir. 2006) ............................................................................... 24
  17
        Piper Aircraft Corp. v. Wag-Aero, Inc.,
  18       741 F.2d 925 (7th Cir. 1984) ............................................................................... 24
  19
  20
        Other Authorities
  21
  22    Holocaust Expropriated Art Recovery Act of 2016, H.R. 6130............................... 23

  23    Senate Report 114-394, December 6, 2016 .............................................................. 23
  24    Spanish Civil Code Article 434 ................................................................................ 11
  25    Spanish Civil Code Article 464 ................................................................................ 15
  26
        Spanish Civil Code Article 1930 ........................................................................ 14, 15
  27
        Spanish Civil Code Article 1932 .............................................................................. 15
  28
                                                                  iii
                                                                                              DEFENDANT’S TRIAL BRIEF
                                                                                             Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 5 of 31 Page ID #:32723



    1   Spanish Civil Code Article 1955 ....................................................................... passim
    2
        Spanish Civil Code Article 1956 ....................................................................... passim
    3
        Spanish Civil Code Article 1961 .............................................................................. 15
    4
        Spanish Civil Code Article 1962 .................................................................. 15, 17, 25
    5
    6   Spanish Criminal Code (1870) ....................................................................... 2, 16, 20

    7   Spanish Criminal Code (1973) ................................................................................... 2
    8   Swiss Civil Code (ZGB), Art. 728 ............................................................................. 2
    9
        Swiss Civil Code (ZGB), Art. 3(1) ............................................................................. 3
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                               iv
                                                                                          DEFENDANT’S TRIAL BRIEF
                                                                                         Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 6 of 31 Page ID #:32724



    1                            PRELIMINARY STATEMENT1
    2         On July 10, 2017, the U.S. Court of Appeals for the Ninth Circuit issued a
    3   decision remanding this action to the district court. The panel’s decision affirmed a
    4   majority of this Court’s findings, including that foreign law governs the
    5   determinations of whether the Baron Thyssen-Bornemisza (under Swiss law) and
    6   the Thyssen-Bornemisza Collection Foundation (“Foundation” or “Defendant”)
    7   (under Spanish law) obtained superior title to the painting Rue St. Honoré, apres
    8   midi, effet de pluie (St. Honoré Street, Afternoon, Rain Effect), oil on canvas (1897)
    9   by Camille Pissarro (the “Painting”). The panel affirmed this Court’s determination
  10    that Spanish Civil Code Article 1955 does not violate the European Convention on
  11    Human Rights. The panel also affirmed this Court’s determination that the
  12    requirements to satisfy ownership under Article 1955’s six-year acquisitive
  13    prescription were satisfied.
  14          After reviewing the evidence proffered by the Plaintiffs “with all inferences
  15    in their favor as required by our summary judgment rules,” Cassirer v. Thyssen-
  16    Bornemisza Collection Foundation, 862 F.3d 951, 972 (9th Cir. 2017), the panel
  17    1
          As this Court is familiar with the facts and procedural history of this case,
  18    Defendant’s Trial Brief focuses on the legal issues to be adjudicated by this Court.
        Defendant’s Proposed Findings of Fact and Conclusions of Law, filed on
  19    November 20, 2018, Dkt. No. 427, (“Defendant’s Proposed Findings”) identifies
  20    the relevant facts. Where appropriate, this brief references evidence from the direct
        trial testimony of: (1) former Spanish State Prosecutor Adriana de Buerba, Spanish
  21    criminal law expert, Dkt. No. 402 (“de Buerba Decl.”); (2) Professor Mariano
        Yzquierdo Tolsada, Spanish civil law expert, Dkt. No. 409 (“Yzquierdo Decl.”); (3)
  22    Professor Wolfgang Ernst, Swiss law expert, Dkt. No. 396 (“Ernst Decl.”); (4) Ms.
        Laurie L. Stein, art provenance researcher, Dkt. No. 412 (“Stein Decl.”); (5) Ms.
  23    Lynn Nicholas, historical researcher and author of The Rape of Europa, Dkt. No.
  24    399 (“Nichols Decl.”); and (6) Mr. Guy Jennings, art appraisal expert, Dkt. No. 394
        (“Jennings Decl.”). This brief also references evidence found in the witness
  25    testimony of: (1) Mr. Evelio Acevedo Carrero, General Director of the Thyssen-
        Bornemisza Foundation Museum, Dkt. No. 411 (“Acevedo Decl.”); and (2)
  26    Fernando Pérez de la Sota, attorney and one of the lead legal advisor to the
  27    Kingdom of Spain (the “Kingdom”) and Foundation in connection with the loan of
        the Collection to Spain and the Foundation in 1988 and the acquisition in 1993 (the
  28    “1993 Acquisition Agreement”), Dkt. No. 405 (“Pérez de la Sota Decl.”).
                                                    1
                                                                      DEFENDANT’S TRIAL BRIEF
                                                                     Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 7 of 31 Page ID #:32725



    1   found that triable issues of fact remained as to: (1) whether the Baron met the good
    2   faith requirement to take title under Swiss rules of acquisitive prescription, and (2)
    3   whether the Foundation took lawful title to the Painting under the 1993 Acquisition
    4   Agreement, noting that the Foundation took lawful title if the Baron was able to
    5   convey lawful title. The panel affirmed this Court’s determination that the
    6   Foundation could not be an “encubridor” (an accessory) under the 1973 Spanish
    7   Criminal Code, as the Foundation was not an accessory to the Holocaust.
    8         The panel, however, considered Plaintiffs’ new argument, that the 1870
    9   Spanish Criminal Code’s more expansive definition – which defined an accessory
  10    to include one who knowingly receives stolen property for benefit – should supply
  11    the operative definition of “encubridor.” The panel left for this Court to determine
  12    whether Article 1956 can, in fact, apply to the Foundation. And, if so, whether the
  13    Foundation had the requisite “actual knowledge” to be deemed an “encubridor.”
  14    The appellate court did not address the Foundation’s assertion that Article 1955’s
  15    three-year good faith acquisitive prescription vests the Foundation with title to the
  16    Foundation, or that Plaintiffs’ claim to the Painting is barred by laches. These legal
  17    issues that remain for this Court to consider and adjudicate.
  18                                       ARGUMENT2
  19    I.    THE FOUNDATION IS THE OWNER OF THE PAINTING
  20          THROUGH VALID CONVEYANCE
  21          A.     Under Swiss Law, the Baron Was the Owner of the Painting
  22                 1.     Under Swiss Law, Good Faith is Presumed
  23          Under Swiss law, ownership of moveable property prescribes by five years of
  24    uninterrupted possession in good faith.3 See Swiss Civil Code (ZGB) Art. 728;
  25    2
          To avoid any uncertainty, the Foundation reserves the right to raise arguments not
  26    addressed herein, in response to Plaintiffs’ trial brief.
        3
          Citing U.S. law, Plaintiffs contend that there “may be issues as to which party has
  27    the burden of proving the Baron’s and [the Foundation’s] knowledge of the theft
  28    and good faith, or lack thereof.” Dkt. No. 375 at 11-12. But the “question of where
        the burden of proof lies is one of substantive law[.]” New York Life Ins. Co. v.
                                                    2
                                                                         DEFENDANT’S TRIAL BRIEF
                                                                        Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 8 of 31 Page ID #:32726



    1   Cassirer, 862 F.3d at 975. The Ninth Circuit recognized that the Baron’s possession
    2   satisfied the requirements of five years of uninterrupted possession. Id. This leaves
    3   only the element of “good faith” which is presumed – for this Court to consider.
    4   Swiss Civil Code (ZGB), Art. 3(1).
    5                2.    There Is No Evidence that the Baron Acted in Bad Faith
    6                      When He Purchased the Painting
    7         “Good faith” is presumed and must be affirmatively rebutted by Plaintiffs.
    8   Swiss Civil Code (ZGB), Art. 3(1); Ernst Decl., ¶¶21-25. Under Swiss law, there
    9   are two ways to rebut the presumption of good faith. Ernst Decl., ¶29. The first way
  10    to rebut good faith is to identify direct evidence of bad faith. Id. Because the Baron
  11    cannot testify in person, and no evidence of his actual knowledge has been offered,
  12    the Baron’s state of mind must be established with circumstantial evidence (indirect
  13    proof). Id., ¶30. To rebut the good faith presumption with indirect proof, the facts
  14    demonstrating bad faith must be proven conclusively, allowing the court to reliably
  15    deduce that the Baron must have acted in actual bad faith. Id. The deduction must
  16    be based on proven facts, not mere assertions. Id. Here, there is no evidence to
  17    prove that the Baron acted in bad faith.
  18          There is no evidence that the Baron purchased the artwork at a suspiciously
  19    low cost. Three other Pissarro’s were sold at auction between 1975 and 1977. In
  20    1975, Sotheby’s sold Soleil, après-midi, la rue de l'Epicerie, Rouen (1898), 81.9 x
  21    65.4 cm. (cat. raisonne no.1223) sold for $262,800. Jennings Decl., ¶25, Exh. 166.
  22    In 1976, Sotheby’s sold La Mere Jolly raccommodant (1874), 103 x 80.7 cm. (cat.
  23    raisonné no. 368) for $230,000. Id., ¶26, Exh. 168.4 And in 1977, Christie’s sold Le
  24
  25    Rogers, 126 F.2d 784, 788 (9th Cir. 1942) (citing Erie R. Co. v. Tompkins, 304 U.S.
        64 (1938) and Cities Serv. Oil Co. v. Dunlap, 308 U.S. 208 (1939)). Shown below,
  26    under Swiss and Spanish law, the burden of proof is born by Plaintiffs, not the
  27    Foundation.
        4
          Plaintiffs’ expert, William Smith, makes no reference to this artwork in his expert
  28    report, Dkt. No. 408, which was originally filed on April 20, 2015, as Dkt. No. 274.
                                                 3
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 9 of 31 Page ID #:32727



    1   Boulevard de Montmartre, matin, temps de pluie (1897) 52.5 x 66 cm (cat. raisonné
    2   no. 1161) for $275,000. Id., ¶27, Exh. 171. The price paid by Baron for the Painting
    3   ($275,000) wholly in line with the prices achieved by the three comparable Pissarro
    4   in the mid-1970s. Id., ¶¶36-37, 48-49. And the Baron’s purchase from the reputable
    5   Stephen Hahn Gallery was well-documented in correspondence and receipts that
    6   openly discuss the prices and payment. Nicholas Decl., ¶¶160-61; Stein Decl.
    7   ¶¶145-54.
    8         No evidence of bad faith can be found in the Baron’s ownership of the
    9   Painting – during which time the Painting was publicized and publically exhibited
  10    in international tours between 1979 and 1986, and in the 1988 magazine
  11    Architectural Digest. Nicholas Decl., ¶¶141, 145-53; Stein Decl. ¶¶141, 150-51.
  12    And there is no evidence that the Baron was aware of the torn label’s reference to
  13    the long-closed Bruno and Paul Cassirer gallery (or that connection to a gallery that
  14    closed in 1901 indicates the Painting was looted by Nazis) or of the footnote
  15    reference to the Painting in a decision found in a post-war U.S. Government
  16    publication (the twelve volume Court of Restitution Appeals (“CORA”)5; neither,
  17    therefore, can provide indirect proof of the Baron’s actual state of mind. Nicholas
  18    Decl., ¶¶53, 72; Stein Decl., ¶57. Given the Baron’s well-documented 1976
  19    purchase, from a reputable gallery, where the Painting had been on public display,
  20    Plaintiffs’ attempts to rely on a partial label and a U.S. government publication
  21    cannot negate that the Baron acted in good faith when he purchased the Painting.
  22    Stein Decl., ¶¶13, 58, 196-97; Nicholas Decl. ¶¶151-54; Ernst Decl., ¶¶32, 34. But,
  23    the absence of negative evidence does not demonstrate bad faith – it simply
  24    demonstrates a lack of evidence, leaving the good faith presumption unrebutted.
  25    5
          There is no evidence that Plaintiffs themselves knew of the CORA decision until
  26    recently, when it was first discovered in German archives after Mr. Cassirer
        authorized access to the family’s German files. Claude Cassirer made no reference
  27    to the CORA decision in his 2001 petition to the Spanish government. He made no
        reference to the CORA decision – or to any of the German litigation that led to the
  28    1958 Settlement Agreement – in the Complaint.
                                                   4
                                                                      DEFENDANT’S TRIAL BRIEF
                                                                     Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 10 of 31 Page ID #:32728



    1   Ernst Decl., ¶87. Because there is no evidence to demonstrate that the Baron had
    2   actual knowledge that the Painting was stolen during World War II, Plaintiffs
    3   cannot rebut the Baron’s presumed good faith with direct or indirect proof of actual
    4   bad faith.6
    5         3.      It Was Reasonable to Believe that One Could Obtain Good Title to
    6                 the Painting from the Stephen Hahn Gallery in 1976
    7         The second way to rebut the good faith presumption is to demonstrate that
    8   the circumstances surrounding the Baron’s purchase were so suspicious that, at the
    9   time of purchase, no reasonable person would have believed that good title to the
   10   Painting could be obtained from the Stephen Hahn Gallery in New York City.7 Id.,
   11   ¶¶37, 41. This inquiry requires an examination of what was known at the time of
   12   the 1976 purchase; the Baron’s actual state of mind is not relevant. Id., ¶¶42-48.
   13   Under Swiss law, good faith is related to the time of the purchase and not to
   14   additional circumstances which eventually become known or knowable ex post
   15   facto. Id., ¶¶43. To determine whether the purchaser is faced with a “red flag”
   16   situation, the judge must draw all relevant circumstances together and come to a
   17   balanced overall evaluation of the purchase as either suspicious or not suspicious.
   18   Id., ¶¶84, 135.
   19         Swiss law does not recognize a “general” duty of care that would apply to the
   20   Baron’s 1976 purchase. Ernst. Decl., ¶¶52-58. And in 1976 – decades before the
   21   creation of the German Lost Art Database, the Art Loss Register, the UNIDROIT
   22   6
          Under Swiss law, the concept of “willful blindness” falls short of the “actual
   23   knowledge” required to rebut the good faith presumption with proof of actual bad
        faith. Ernst Decl., ¶36 (citing Swiss Civil Code Art. 3(2)).
   24   7
          Mr. Cassirer filed suit against Stephen Hahn on July 19, 2004, for his role in
   25   purchasing and selling the Painting. Defendant’s Proposed Findings, ¶247. On June
        24, 2005, Claude Cassirer and Hahn entered into a settlement agreement to
   26   “definitively resolve[] all claims that Cassirer may have against Hahn in connection
        with, or arising from, the Pissarro.” Id. ¶249. Had Mr. Cassirer discovered any
   27   provenance information useful in that case, he surely would have produced such
   28   information in this case. As Plaintiffs did not produce any information, one must
        assume that there is none.
                                                    5
                                                                      DEFENDANT’S TRIAL BRIEF
                                                                     Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 11 of 31 Page ID #:32729



    1   Convention on Stolen or Illegally Exported Cultural Objects, and The Washington
    2   Principles – there was no reason to question the provenance of an artwork
    3   publically displayed for sale in a reputable gallery. Stein Decl., ¶81; Ernst. Decl.,
    4   ¶47. With the research tools available today, as well as the heightened awareness of
    5   artwork looted during the Holocaust, the standard of care employed now when
    6   purchasing an artwork may be higher. But in 1976 – the time on which the Court
    7   must focus – the Baron’s purchase did not violate any general or specific duty of
    8   care and there is nothing known now about the Baron’s purchase that raises
    9   suspicion. Stein Decl., ¶¶173, 180, 196; Nicholas Decl., ¶¶16, 21.
   10         Plaintiffs assert that “red flags,” would have raised suspicions that could have
   11   lead one to discovery Lilly Cassirer Neubauer’s prior ownership. But as there is no
   12   general duty of care, there was no duty to affirmatively search for “red flags.”
   13   Nicholas Decl., ¶¶40-41, 56-61; Ernst Decl., ¶¶52-58. And it is not a purchaser’s
   14   obligation to prove that he acquired the Painting in the absence of red flags – if no
   15   facts are affirmatively asserted, substantiated, and proven to undercut the
   16   presumption of good faith, the presumption remains. Ernst Decl., ¶¶55, 58.
   17         But even if the Baron – or another theoretical purchaser – had happened upon
   18   one or more of Plaintiffs’ purported “red flags,” these modern speculative
   19   suspicions do not prove – as Plaintiffs must – that no purchaser could have
   20   reasonably believed that the Stephen Hahn Gallery could convey good title to the
   21   Painting. Nicholas Decl., ¶¶39-61; Stein Decl., ¶146, 184-85. This is so, even if one
   22   were to apply the Swiss “dubious market-doctrine,” asserting that the high-end
   23   market for French Impressionists was so interspersed with looted art that no
   24   reasonable purchaser could expect to acquire good title. Ernst Decl., ¶¶110-28.
   25         In 1976, there was no evidence to challenge the trustworthiness of the
   26   Stephen Hahn Gallery – which was known internationally for selling artworks
   27   similar to the Painting. Jennings Decl., ¶45; Nicholas Decl. ¶141-59; Stein Decl.,
   28   ¶¶141-49. Hahn, who was Jewish, had a very good reputation and had previously
                                                   6
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 12 of 31 Page ID #:32730



    1   sold artworks to celebrities and other high profile persons, like the Baron. Nicholas
    2   Decl., ¶144; Stein Decl., ¶¶142, 146; Ernst. Decl., ¶¶60-63. The Baron purchased
    3   three other paintings from Stephen Hahn at the same time he purchased the
    4   Painting. Proposed Pre-Trial Conference Order, Dkt. No. 377, Stipulated Facts,
    5   ¶28. Plaintiffs do not question the provenance of those artworks.8 Nor does the
    6   method of sale (consignment) or the price paid by the Baron suggest suspicious
    7   circumstances relating to the Painting. Consignment is common in the art world,
    8   and the price paid by Baron for the Painting ($275,000) is entirely in line with
    9   figures paid for three comparable Pissarro artworks in the mid-1970s.
   10         Plaintiffs make continued reference to the partial label that appears to
   11   identify an art gallery owned by Bruno and Paul Cassirer which operated between
   12   1989 and 1901, Petropoulos Decl., ¶1099, but they cannot explain why the label of a
   13   gallery that closed in 1901 suggests that the Nazi’s had looted the Painting or that
   14   the artwork was unlawfully removed from Germany immediately before, during, or
   15   8
          The Painting’s provenance lists “Hahn Gallery, Paris.” Nicholas Decl., ¶154. The
   16   three other paintings acquired by the Baron from Stephen Hahn in New York at the
        same time, and which are still part of the Collection, also have “Hahn Gallery,
   17   Paris” in their provenance. Id. Plaintiffs do not suggest that these other three
        paintings were also looted during the war simply because they have an incorrect
   18   entry in their provenance. Id. And if the Baron were attempting to cover up illicit
   19   purchases, he would intentionally substitute a New York gallery with a gallery in
        Paris which, according to Dr. Petropoulos, was one of the most active areas of post-
   20   war Nazi loot trading. Id., ¶156. More likely, the Thyssen cataloguers confused
        Hahn with his father, who once had a gallery in Paris. Id., ¶155.
   21   9
          Dr. Petropoulos acknowledges that the Painting’s frame “is the one associated
   22   with the [P]ainting at the time when it was in the possession of the Cassirer family,
        and that canvas is original and that it has not been relined. Petropoulos Decl.,
   23   ¶¶104-05. There are no visible labels or markings by Nazi agencies, Allied post-
   24   war agencies (such as the Central Collecting Points), or suspicious customs stamps,
        that are frequently seen on looted works and could be considered “red flags.”
   25   Nicholas Decl., ¶51. Dr. Petropoulos also refers to handwriting on the back of the
        Painting that, he asserts, should have alerted purchasers to the prior Cassirer
   26   ownership. He claims that the name “Julius” is written on the Painting’s frame,
        suggesting a “likely” reference to Julius Cassirer. Petropoulos Decl., ¶¶50,105. But
   27   closer examination of the image suggests that the name “Janis” is written on the
   28   frame – a name which provides no connection to Cassirer, Neubauer, Sulzbacher or
        any war time provenance. Nicholas Decl. ¶52; Stein Decl., ¶191.
                                                    7
                                                                      DEFENDANT’S TRIAL BRIEF
                                                                     Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 13 of 31 Page ID #:32731



    1   after the War.10 Nicholas Decl., ¶¶45, 53; Stein Decl., ¶¶102-04; 124; Ernst Decl.,
    2   ¶¶73-77. The twelve volumes of CORA decisions may have been available to those
    3   searching for a copy, but there is no reason to expect that an art collector –
    4   particularly one who lived outside the United States in the pre-internet era – would
    5   locate and review these government publications before purchasing an artwork. The
    6   CORA decisions, published between 1954 and 1966 for specialized law libraries,
    7   provide only summaries of cases, not full documentation. Nicholas Decl., ¶68;
    8   Stein Decl., ¶¶56-57. And the decisions are indexed by party name, not by property
    9   claimed. Nicholas Decl., ¶68; Stein Decl., ¶57.
   10         Plaintiffs do not actually contend that it was the practice for art collectors in
   11   the 1970s to consult property restitution decisions. And while Plaintiffs’ expert
   12   faults the Baron for not reading the CORA records, he makes no reference to the
   13   CORA records in his books which discuss Nazi looting of art, even though those
   14   books were published decades after 1976. Nicholas Decl., ¶76. In fact, a review of
   15   the known, publically accessible provenance showed that, prior to 1976, the
   16   Painting was owned by several well-known art collectors – collectors who were
   17   Jewish and, in at least two instances, World War II veterans.11 Stein Decl., ¶¶192-
   18   10
           Plaintiffs’ expert, Mr. Jonathon Petropoulos opines that the label “alerted the
   19   Baron and [the Foundation] to the Painting’s dubious provenance.” Petropoulos
        Decl., Dkt. No. 417, ¶110. Had the Bruno and Paul Cassirer Gallery operated
   20   during the war, or been shut down shortly before the war, such speculation could be
        reasonable, but a painting with the label of a gallery that closed decades before
   21   World War I can hardly make an artwork’s provenance “dubious.” Dr. Petropoulos
   22   also notes that approximately twenty other artworks obtained by the Baron (or his
        father) from the Bruno and Paul Cassirer Gallery were purchased by the Foundation
   23   in the 1993 Acquisition. Petropoulos Decl., ¶111. He notes that the artworks’
        “connections” to the Bruno and Paul Cassirer Gallery “are specifically referenced
   24   on the [Foundation] website today.” Id. There have been no claims challenging the
        Foundation’s ownership of these works.
   25          Walter Feilchenfeldt, son of the gallerist who ran the Paul Cassirer gallery
   26   after Mr. Cassirer’s death in 1926, did not recognize the label and advised that no
        records remain from that era of the earlier Bruno and Paul Cassirer Gallery. Stein
   27   Decl., ¶¶89, 100-01.
        11
   28      The Painting’s whereabouts following the war was unknown until its purchase in
        July, 1951, by the Jewish art dealer Frank Perls, a former U.S. military translator in
                                                   8
                                                                        DEFENDANT’S TRIAL BRIEF
                                                                       Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 14 of 31 Page ID #:32732



    1   93; Nicholas Decl., ¶¶88-115.
    2         Because, under Swiss law, a buyer did not have a duty of care to conduct
    3   independent inquiries when purchasing the Painting from a reputable dealer,
    4   especially after the Painting’s public exhibition at the Stephen Hahn Gallery, and
    5   there were no “red flags” apparent in 1976 to require the level of investigation
    6   necessary to connect the Painting to Ms. Cassirer Neubauer – particularly as
    7   Plaintiffs concede there was no claim made to the Painting between 1958 and 2001
    8   – there is no evidence to prove that, based on the facts known in 1976, a reasonable
    9   should doubt that the Stephen Hahn Gallery was able to pass good title, Plaintiffs
   10   cannot rebut the Baron’s presumption of good faith possession.12
   11         As Plaintiffs cannot rebut the presumption of good faith and the Baron
   12   satisfied the other requirements for acquisitive prescription – as recognized the by
   13   the Ninth Circuit – the Baron was the owner of the Painting under Swiss law.13
   14
        Germany, from a Herr Urban of Munich. Nicholas Decl., ¶89. It is not known how
   15   and when the Painting came to the United States. Id. Perls acquired the Painting for
        Sidney Brody – who was Jewish and a decorated war hero – and his wife, who were
   16   well known collectors in Los Angeles, California. Id., ¶¶89, 115. In May 1952,
   17   Perls consigned the Painting to the Knoedler Gallery in New York on behalf of the
        Brodys. Id., ¶99. Correspondence between Perls and Knoedler notes that the
   18   Painting “does not appear on any of the lists” of artworks with questionable
        wartime provenance. Id. ¶104. It was sold later in May, 1952, in a documented
   19   transaction, to Mr. and Mrs. Sydney Shoenberg of St. Louis for $16,500. Id. In
   20   May, 1954, the Painting, held in Shoenberg’s private collection, was described and
        illustrated in the internationally distributed art magazine, Connoisseur. Id., ¶102.
   21   12
           Plaintiffs make reference to John Rewald, a friend of Pissarro’s fourth son, and
   22   contend that the Baron would have learned that the Painting was Nazi-looted art if
        he or his staff had “made any effort to contact Rewald at the time of the 1976
   23   purchase.” Petropoulos Decl., ¶¶151, 155. But the Baron spoke with Rewald after
        the purchase. In 1989, the Baron’s assistant wrote to Rewald asking him to write a
   24   of catalogue of certain artworks in the Collection, including the Painting. Nicholas
        Decl., ¶139. In reply, Rewald declined the offer, but expressed no suspicions about
   25   the Painting or any other artworks in the Collection. Id.
   26   13
           Swiss law recognizes that to obtain ownership through acquisitive prescription,
        the purchase cannot lose good faith during the five-year prescription period. Ernst
   27   Decl., ¶138. Because there were no facts or circumstances to rebut the presumption
   28   of good faith at the moment of purchase in 1976, continued good faith is presumed
        and Plaintiffs bear the burden of proving otherwise. Id., ¶139. As Plaintiffs failed to
                                                     9
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 15 of 31 Page ID #:32733



    1         B.        Under Spanish Law, the Foundation Obtained Ownership of the
    2                   Painting in the 1993 Acquisition Agreement
    3         Under Spanish law, the process of transfer of ownership requires two
    4   elements: the “title,” usually a contract relating to the sale or exchange, and the
    5   “mode,” which is the transfer of possession by the owner. 862 F.3d at 974;
    6   Yzquierdo Decl., ¶¶12, 58-59. The Ninth Circuit recognized, therefore, that both
    7   elements were satisfied, concluding that “if the Baron had good title to the Painting
    8   when he sold it to [the Foundation], the [Foundation] became the lawful owner of
    9   the Painting through the acquisition agreement.” 862 F.3d at 974.
   10         Because, the Baron possessed the Painting peacefully, publically – as owner
   11   – for more than five years, and because the Plaintiffs cannot rebut the Baron’s
   12   presumed good faith possession, the Foundation “became the lawful owner of the
   13   Painting through the acquisition agreement” id., under Spanish law, when it bought
   14   the Collection from the Baron’s art trust, Favorita Trustees Ltd. (“Favorita”).
   15   II.   THE FOUNDATION IS THE OWNER OF THE PAINTING UNDER
   16         SPANISH LAWS OF ACQUISITIVE PRESCRIPTION
   17         Even if the Foundation did not obtain good title through the 1993 Acquisition
   18   Agreement, it nonetheless obtained good title through Spain’s laws of acquisitive
   19   prescription.
   20         A.        The Foundation Obtained Good Title Under Spanish Civil Code
   21                   Article 1955’s Six-Year Acquisitive Prescription
   22         Spain’s acquisitive prescription laws require that the possessor: (1) possess
   23   the property for a statutory period, (2) possess the property as owner, and (3)
   24   possesses the property publicly, peacefully, and without interruption. Spanish Civil
   25   Code Art. 1955; 862 F.3d at 965. Within Article 1955, there are two categories of
   26   acquisitive prescription, each with different prescriptive periods. Spanish Civil
   27
        provide facts to prove a loss of good faith between 1976 and 1981, the Baron’s
   28   ownership, as of 1981, is complete.
                                                  10
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 16 of 31 Page ID #:32734



    1   Code Art. 1955; Yzquierdo Decl., ¶¶13, 50. The Ninth Circuit recognized that the
    2   Foundation satisfied all three requirements for Article 1955’s six-year acquisitive
    3   prescription, where good faith possession is not required. 862 F.3d at 965.
    4         Explained below, the Foundation is also the lawful owner of the Painting
    5   under Article 1955’s three-year acquisitive prescription, as the Foundation obtained
    6   and possessed the Painting in good faith.
    7         B.     The Foundation Obtained Good Title Under Spanish Civil Code
    8                Article 1955’s Three-Year Good-Faith Acquisitive Prescription
    9                1.    Under Spanish Law, Good Faith Is Presumed
   10         Spanish Civil Code Article 1955 affords that, where the above elements are
   11   satisfied, “[o]wnership of movable property prescribes by three years of
   12   uninterrupted possession in good faith.” Spanish Civil Code Art. 1955; Yzquierdo
   13   Decl., ¶¶13, 50. Article 434 explains “[g]ood faith is always presumed, and the
   14   person asserting a possessor’s bad faith shall have the burden of proving it.”
   15   Spanish Civil Code Art. 434; Yzquierdo Decl., ¶¶18, 61.
   16         While the Ninth Circuit – and this Court – reviewed Plaintiffs’ purported
   17   evidence “with all inferences in their favor as required by our summary judgment
   18   rules,” 862 F.3d at 972, see also Cassirer v. Thyssen-Bornemisza Collection
   19   Found., 153 F. Supp. 3d 1148, 1153 (C.D. Cal. 2015), Plaintiffs can no longer rely
   20   on those inferences. The evidence demonstrates that the Foundation did possess the
   21   Painting in good faith. As the acquisition was to be made with public funds and its
   22   goal was to exhibit the Collection in a museum which would be visited by millions
   23   of people, it was necessary to ensure that the purchase was lawful and that the
   24   Foundation would take lawful title to the artworks in the Collection. Pérez de la
   25   Sota Decl., ¶100.14 Spain took extra steps to conduct title investigations in 1989 and
   26
        14
          Seventeen paintings that were originally part of the Collection were excluded
   27   from the 1993 Acquisition because of authorship or title concerns. Pérez de la Sota
   28   Decl., ¶109. This included two of the most important artworks in the Collection
        (Mata Mua by Paul Gauguin and The Lock by John Constable). Id. Both were
                                                11
                                                                      DEFENDANT’S TRIAL BRIEF
                                                                     Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 17 of 31 Page ID #:32735



    1   1993 and obtained legal opinions from reputable law firms around the world to
    2   ensure the Baron held good title and the conveyance was lawful.15 Pérez de la Sota
    3   Decl., ¶¶17, 55, 61. The Foundation’s purchase was public, and accomplished with
    4   public funds and in connection with a Royal Decree. Id., ¶¶12, 91, 100; Acevedo
    5   Decl., ¶¶21-24. The $350 million paid for the entire Collection, including the
    6   Painting, was reasonable, taking into account contemporary values and limitations
    7   placed on the Collection16, including the requirement that the Foundation cannot
    8   sell, exchange, charge, dispose, pledge, or otherwise encumber any artwork in the
    9   Collection; nor can the Foundation display artwork that was not part of the
   10   Collection. Pérez de la Sota Decl., ¶3; Acevedo Decl. ¶¶25-28.
   11         But the $350 million, from funds given to the Foundation by Spain, was only
   12   part of the consideration agreed to by the parties: The Foundation is obligated by
   13
        excluded from the Collection when it was purchased by the Foundation because it
   14   was not clear, after review by the law firms, that Favorita had free, marketable, and
   15   unencumbered title to the works. Id.
        15
           As a condition subsequent to the 1993 Acquisition (which required the Favorita
   16   to represent and warrant good title) and as part of the further title investigation,
   17   Spain’s lawyers examined more closely: (1) transfers of paintings between
        members of the Thyssen family or group which had taken place after 1980 but had
   18   not been covered by the 1989 investigation (some 50 paintings); (2) paintings added
        to the Collection to replace other paintings which had been withdrawn; (3)
   19   paintings which could be pledged by Favorita in favor of the Foundation as security
   20   for the satisfaction and performance of all the liabilities and obligations of the
        trustee; and (4) a thorough investigation, including a full inspection of all records in
   21   the Lugano Museum of the 30 most iconic paintings of the Collection. Pérez de la
        Sota Decl., ¶102. Counsel also conducted a search at the Art Loss Register “to see
   22   whether any of the relevant paintings had been registered as stolen,” as the
        Foundation did not want to take the risk of acquiring property to which there could
   23   be an adverse claim. Id., ¶103. All searches were clear as none of the listed
   24   artworks had been identified as stolen. Id.
        16
           To determine the Collection’s fair market value, Spain retained three of the most
   25   internationally recognized art consultants (Mr. William B. Jordan, Mr. Theodore E.
   26   Stebbins and Mr. François Daulte) to value the Spanish Collection. Pérez de la Sota
        Decl., ¶¶82-86. Spain asked Mr. Juan G. Domínguez Macías, to calculate the value
   27   of the main additional obligations which the Kingdom and the Foundation would
        have to undertake (the economic elements of the consideration other than the Price).
   28   Id.,¶87.
                                                  12
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 18 of 31 Page ID #:32736



    1   the 1993 Acquisition Agreement to: (1) maintain, conserve, exhibit publicly, and
    2   promote all works in the Collection, (2) preserve the Palacio de Villahermosa
    3   building and renovate it to house the Collection, and (3) finance these activities.17
    4   Pérez de la Sota Decl., ¶79; Acevedo Decl., ¶10. Spain, in turn provided, free of
    5   charge, the renovated Palacio de Villahermosa to house the Collection. Pérez de la
    6   Sota Decl., ¶13. Spain also agreed that it would not alter the Collection and it
    7   undertook to pay any deficit that the Foundation might run. Id.
    8         Beyond the Foundation’s public acquisition of the Collection, its ownership
    9   of the Painting has been published in numerous documents and publicized in
   10   exhibitions around the world. Acevedo Decl., ¶¶20, 30-32; Pérez de la Sota Decl.,
   11   ¶¶47,73, 97, 100. And Plaintiffs cannot point to an adverse ownership challenge
   12   made against any other Collection artwork.18 Thus, Plaintiffs cannot rebut the
   13   Foundation’s presumed good faith possession.19 Pérez de la Sota Decl., ¶106.
   14                2.     “Red Flag” Speculation Does Not Rebut the Foundation’s
   15                       Presumption of Good Faith
   16         In the absence of evidence to affirmatively rebut the Foundation’s
   17   presumption of good faith possession, Plaintiffs rely on their “red flags” to suggest
   18
   19   17
           Dr. Petropoulos asserts that the Foundation’s acquisition was “far below market
   20   value,” Petropoulos Decl., Dkt. No. 417, ¶198, ignoring the significant restrictions
        placed on the Collection by the Baron, as well as the significant costs taken on by
   21   Spain and the Foundation in order to ensure that the Collection is properly housed
        for public view and benefit.
   22   18
           The 1993 Acquisition Agreement included, as security to Spain and the
   23   Foundation, a pledge by Favorita to pay $10 million in the event that there was a
        claim to an artwork purchased in the 1993 acquisition. Pérez de la Sota, Decl.,
   24   ¶101. The term of the pledge – three years – corresponds intentionally to Article
        1955’s three-year good-faith acquisitive prescription period. Id.
   25   19
           An encubridor is one who “knowingly benefits from stolen property.” 862 F.3d at
   26   967. This means that although the receiver did not participate in the underlying
        offense, the receiver takes economic advantage of its proceeds for their own
   27   financial benefit. de Buerba Decl., ¶55. If the purchase price of the Collection was
   28   reasonable, there is no evidence that the Foundation attempted to obtain illicit
        financial benefit. Id. ¶59.
                                                  13
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 19 of 31 Page ID #:32737



    1   that the Foundation knew, or should have known, that the Painting had an illicit
    2   history. These “red flags” are merely hindsight-driven speculation and inferences.
    3         As with the Baron, Plaintiffs argue that a torn, partial label on the back of the
    4   Painting should have put the Foundation, its researchers, and its lawyers, on alert.
    5   Dkt. No. 375 at 4-7, 9, 12. From the label, four words are legible: “Kunst” (“art” in
    6   German), “und” (“and” in German), “Berl n,” and “Pissarro.” From this, Plaintiffs
    7   extrapolate that the Foundation should have known the artwork was once in Bruno
    8   and Paul Cassirer’s art gallery in Berlin. Dkt. No. 375 at 6. Even if that connection
    9   could be reasonably drawn, there is no reason to connect the gallery – that closed in
   10   1901 – with Nazi looting or Lilly Cassirer Neubauer. Nicholas Decl., ¶¶45, 53;
   11   Stein Decl., ¶¶102-04; 124.
   12         Plaintiffs contend that a 1954 CORA decision put the Foundation on notice
   13   of Ms. Cassirer Neubauer’s connection to the Painting, even though the decision
   14   makes no reference to the name “Cassirer,” referencing only “Neubauer.” Dkt. No.
   15   375 at 10. And even if this twelve volume U.S. Government publication was
   16   accessible to those outside of the United States or Germany, there is no evidence
   17   that the book was accessible to the Spanish government or its lawyers such that
   18   they could search the haystack for the single “needle” – the footnote referencing the
   19   Painting. Nicholas Decl., ¶68; Stein Decl., ¶¶56-57, 181.
   20         Because the Foundation’s public, peaceful possession as owner of the
   21   Painting was not disturbed until May 3, 2001, almost eight years after it first
   22   possessed the Painting as owner, and Plaintiffs cannot meet their burden of
   23   demonstrating bad faith by the Foundation, under Spanish law, title vested in the
   24   Foundation through good faith acquisitive prescription no later than June 21, 1996.
   25         C.     Spain’s Substantive Statute of Limitations (Extinctive
   26                Prescription) Vests the Foundation with Ownership
   27         Spanish Civil Code Article 1930 recognizes that “[o]wnership and other
   28   rights in rem are acquired pursuant to prescription, in the manner and subject to the
                                                  14
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 20 of 31 Page ID #:32738



    1   conditions provided in the law. Spanish Civil Code Art. 1930; Yzquierdo Decl.,
    2   ¶57. Likewise, rights and actions of any kind are also extinguished by the running
    3   of their statute of limitations.” Spanish Civil Code Art. 1930; Yzquierdo Decl., ¶57.
    4   Article 1961 states actions expire by the running of the statute of limitations by the
    5   “mere lapse of the time set forth in the law.” Spanish Civil Code Art. 1962;
    6   Yzquierdo Decl., ¶57. Article 1962, which provides the statute of limitations for
    7   actions involving moveable property, states:
    8         Actions in rem relating to movable property shall become barred by the
    9         statute of limitations six years after possession is lost, unless the
              possessor has acquired absolute title thereon, pursuant to Article 1,955,
   10         and excluding cases of loss and public sale and of purloin or theft, in
              which cases the provisions of Paragraph 3 of said Article [464] shall be
   11         observed.
   12   Yzquierdo Decl., Exh. B. Spanish Civil Code Art. 1962. As required by Articles
   13   1930 and 1932, Article 1962’s six-year statute of limitations extinguishes the
   14   Plaintiffs’ right of action and right of ownership through extinctive prescription. Id.,
   15   ¶58, Exh. B. Thus, if the Foundation acquired ownership of the Painting through
   16   good-faith acquisitive prescription, then the Foundation acquired “absolute title”
   17   pursuant to Article 1955 after three years, and before Article 1962’s six-year period
   18   had run. Id., ¶58. In the absence of good faith, the Foundation acquired “absolute
   19   title” through acquisitive prescription under Article 1955 – at the same time that its
   20   ownership is conferred by Article 1962 – on June 21, 1999, six years after the
   21   Foundation took public, undisturbed ownership of the Painting.20 Id.
   22
   23
   24
        20
           Article 1962, in conjunction with articles 1955 and 464, limits application of the
   25   statute of limitations in cases of loss, but it does not displace or supersede the prior
   26   clause recognizing acquisition of absolute title through acquisitive prescription
        (Article 1955). Yzquierdo, Decl., ¶58. Rather, the rule limits acquisition of title
   27   resulting from the running of the statute of limitations to permit an action by a
        deprived owner against a possessor that has not yet attained absolute title through
   28   acquisitive prescription. Id.
                                                    15
                                                                        DEFENDANT’S TRIAL BRIEF
                                                                       Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 21 of 31 Page ID #:32739



    1         D.     Spanish Civil Code Article 1956 Does Not Apply
    2         The Ninth Circuit recognized that the Foundation met the requirements of
    3   six-year acquisitive prescription. See 862 F.3d at 965 (“Thus, Article 1955, read in
    4   isolation, would seem to bar the Cassirers’ action for recovery of the Painting.”).
    5   The panel noted correctly that Article 1956 limits application of Article 1955 where
    6   the possessor is a principal, an accomplice, or an accessory to the crime of theft.
    7   Article 1956 provides:
    8         Movable property purloined or stolen may not prescribe in the
    9         possession of those who purloined or stole it, or their accomplices or
              accessories [encubridores], unless the crime or misdemeanor or its
   10         sentence, and the action to claim civil liability arising therefore, should
              have become barred by the statute of limitations.
   11
        862 F.3d at 966. Restated by the Ninth Circuit, Article 1956 “extends the time of
   12
        possession required for acquisitive prescription only as to those chattels (1) robbed
   13
        or stolen from the rightful owner (2) as to the principals, accomplices or
   14
        accessories after the fact (‘encubridores’) with actual knowledge of the robbery or
   15
        theft.” 862 F.3d at 966 (footnote omitted and emphasis added). Under Spanish law,
   16
        the burden of proof lies with the party seeking to prove the necessary elements of
   17
        the criminal offense; the defendant retains the presumption of innocence and may
   18
        demonstrate elements which mitigate or exclude the purported criminal liability. de
   19
        Buerba Decl., ¶68.
   20
              On appeal, Plaintiffs asserted that the Foundation meets the 1870 criminal
   21
        code’s more expansive definition of accessory because the Foundation “knew the
   22
        Painting had been stolen when [it] acquired the Painting from the Baron.” 862 F.3d
   23
        at 966. The Ninth Circuit considered Plaintiffs’ argument. Following a lengthy
   24
        discussion of the history of Spanish law, the panel concluded that the 1870 criminal
   25
        code provided the operative definition of “encubridor,” and that, therefore, one who
   26
        satisfies that definition may implicate Article 1956, thereby delaying application of
   27
        Article 1955. Id. at 968.
   28
                                                  16
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 22 of 31 Page ID #:32740



    1          The panel left for this Court two questions of fact (regarding Article 1956) to
    2   consider on remand. First, the panel found that “there is a triable issue of fact
    3   whether [the Foundation] is an encubridor (an “accessory”) with the meaning of
    4   Civil Code Article 1956.” 862 F.3d at 964 (emphasis added). Second, “[a]ssuming
    5   Article 1956 applies to someone who knowingly benefits from stolen property,” the
    6   panel noted that it is a triable issue of fact whether the evidence demonstrates the
    7   “required actual knowledge element of Article 1956.” 862 F.3d at 972 (emphasis
    8   added). Plaintiffs cannot prevail on either argument.21
    9                 1.     The Foundation Has Not Been Found (and Cannot Now Be
   10                        Found) Liable as an Accessory
   11          Article 1956 may delay application of Article 1955’s acquisitive prescription
   12   where the property is held by an “accessory,” until the “crime or misdemeanor or its
   13   sentence,” and the derivative civil liability arising from the “crime or misdemeanor
   14   or its sentence,” is barred by the statute of limitations. 862 F.3d at 966. Thus, as
   15   anticipated by the Panel, were the Foundation an accessory, Article 1956 could add
   16   five years to the six-year statute of limitations provided by Article 1962. And the
   17   statute of limitation could be extended further, pursuant to Article 1956, until
   18   expiration of the derivative civil liability statute of limitations.22
   19   21
           Plaintiffs contend that the Foundation’s challenge to Article 1956 is “contrary to
   20   the Ninth Circuit’s decision.” Dkt. No. 375 at 12. It is not, as the panel did not rule
        on the challenge, which was timely raised in a Petition for Rehearing and Rehearing
   21   En Banc in response to the panel’s consideration of one of several waived
   22   arguments and subsequent misapplication of Spanish law.
        22
           Mr. Alfredo Guerrero Righetto, asserts that civil liability derived from a crime
   23   may be imposed absent a final conviction. Guerrero Decl., Dkt. No. 422. pages 29-
   24   32. As a general rule, that is not a correct statement. There have been isolated cases
        – where the accused died before the criminal action – in which a court has admitted
   25   the possibility of derivative civil liability. But in such scenarios, criminal charges
        were timely brought and the absence of conviction was the result of the accused
   26   death. Even in those cases, as described by Professor Yzquierdo, the case law
        rejects a claim of civil liability derived from a crime and would only admit civil
   27   liability derived from torts. Yzquierdo Decl., ¶11. Only in case of a pardon could it
   28   be admitted that the resulting liability qualifies as civil liability derived from a
        crime, but that is precisely because the existence of a crime (acknowledged by the
                                                     17
                                                                          DEFENDANT’S TRIAL BRIEF
                                                                         Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 23 of 31 Page ID #:32741



    1         But the Foundation is not an accessory. It is not disputed that the Foundation
    2   has never been criminally charged, much less convicted, as an accessory.23 de
    3   Buerba Decl., ¶12. The relevant five-year criminal statute of limitations, 862 F.3d
    4   at 966, ran on June 21, 1998, so the Foundation cannot be an accessory. Yzquierdo
    5   Decl., ¶31; de Buerba Decl., ¶22. And because the Foundation is not an accessory,
    6   there can be no derivative civil liability – no “action to claim civil liability arising
    7   therefrom” – to toll application of Article 1955 for an additional fifteen years.
    8   Yzquierdo Decl., ¶¶24, 31, 39, 63.
    9         Plaintiffs and the Jewish Community Groups Amici reference commentators
   10   who opine that it was theoretically possible to apply Article 1956 in the absence of
   11   a valid conviction – for example, where the possessor dies or is pardoned – but
   12   even in those theoretical scenarios, criminal charges were brought prior to the close
   13   of the statute of limitations, such that the possessor’s public, peaceful possession
   14   was disrupted.24 Yzquierdo Decl., ¶24. There are, however, no Spanish cases in
   15   which Article 1956 was applied in the absence of a criminal conviction.25 de
   16
        person accused) is a necessary condition for pardon. Plaintiffs fail to identify any
   17   case or commentary that suggests there can be derivative civil liability in the
   18   absence of any criminal charges.
        23
           In Spain, criminal charges may be brought by public or private parties. This
   19   means that, prior to the June 21, 1998, when the criminal statute of limitation had
   20   run, Plaintiffs themselves could have brought criminal charges against the
        Foundation. de Buerba Decl., ¶17. They did not.
   21   24
           Plaintiffs’ commentator’s theories cannot find support in case law from the
   22   Supreme Court which recognizes that, civil liability that is “derived from a crime”
        requires recognition that the underlying crime occurred. Except where the accused
   23   dies – precluding a conviction – or a person is pardoned after conviction, there must
        first be a formal finding of criminal liability before you can have civil liability
   24   driving from that crime. Yzquierdo Decl., ¶23. Without the crime, there can be no
        derivative civil liability; Plaintiffs identify no case law that purports to allow civil
   25   liability derived from a time-barred criminal allegation.
   26   25
           None of the Spanish cases cited by Mr. Guerrero or the Brief Amici Curiae
        Comunidad Judía de Madrid and Federación de Comunidades Judías de España,
   27   Dkt. No. 400-2 (“Jewish Community Groups Amicus”) supports their assertion that
   28   a prior criminal conviction is not required in a case like this. Similarly, none of the
        cases support Plaintiffs’ assertion that the Foundation is a criminal accessory and
                                                      18
                                                                         DEFENDANT’S TRIAL BRIEF
                                                                        Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 24 of 31 Page ID #:32742



    1   Buerba Decl., ¶24. To find the Foundation to be an accessory in the absence of
    2   criminal charges or a criminal conviction – more than ten years after the criminal
    3   statute of limitations has run – would be to make new Spanish law that is not
    4   supported by any existing Spanish law or case.
    5
    6   that Article 1956 should apply – even though there was no charge or conviction,
    7   and where the statute of limitations for bringing charges has long since passed –
        simply because Plaintiffs now allege that the Foundation might have been an
    8   accessory. Rather, in every case cited where Article 1956 was applied, there had
        been a criminal conviction.
    9          Mr. Guerrero references – without attaching – STS of 18 December 2013 for
   10   support. Guerrero Decl., page 24. His reference to this case is misleading, as the
        Spanish Supreme Court did not apply Article 1956 in that case. The court made
   11   reference to the fact that Article 1956 “denies that moveable property can be
        acquired by prescriptive ownership by those whole sole or purloined them, or by
   12   the accessories or “encubridores,” as long as the crime or misdemeanor has no
        prescribed, or its penalty, as well as the criminal action ex delicto.” Guerrero Decl.,
   13   page 25. But in doing so, the Spanish Supreme Court merely restated the language
   14   of Article 1956 itself. The court did not take any further step – to analyze or apply
        1956 – before it found that the possessor did obtain ownership through acquisitive
   15   prescription.
               In the paragraph following the sentence quoted by Mr. Guerrero reads:
   16
   17         Once proven in the first instance that the defendants have possessed the
              property object of the claim since the poet’s death in 1984, for more
   18         than 26 years, and that this possession was as owner, public, peaceful
              and uninterrupted, and that the defendants held these goods because that
   19         is what the poet and his sister wanted, it is irrelevant in order to
              appreciate the extraordinary acquisitive prescription that they had not
   20         acquired by donation, the relevant thing is possession as an owner,
   21         public, peaceful and uninterrupted for the term of six years, conditions
              that are met.
   22
        Exhibit A (certified translation) (emphasis added).
   23          In STS 28 November 2008, also referenced by Mr. Guerrero, the claimant
   24   made an argument similar to that made by Plaintiffs now, that the possessors may
        have committed a crime and that the six-year acquisitive prescription period should,
   25   therefore be delayed, but that argument was plainly dismissed by the court. Mr.
        Guerrero again misleads the court. He asserts that this decision provides “an
   26   example of the application of Article 1956,” Guerrero Decl., page 25, but concedes
        that the court “did not finally rule if, in fact, Article 1956 of the Civil Code was
   27   applicable to the case,” id. Mr. Guerrero offers a misleading description of that
   28   ruling, as the court expressly dismissed the claimant’s argument. Yzquierdo Decl.,
        ¶53, Exhs. H, U.
                                                     19
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 25 of 31 Page ID #:32743



    1          Moreover, as a matter of Spanish law, the Foundation cannot be deemed a
    2   criminal accessory. Only individuals – not legal persons, like the Foundation – are
    3   subject to liability under criminal law. Id., ¶¶40-54. Prior to December 24, 2010,
    4   only individuals could be held liable under Spanish criminal law. Id., ¶41. Spanish
    5   law was subsequently amended to allow legal persons to be held criminally liable
    6   for certain offences enumerated in Spanish Criminal Code 1995. Id., ¶41. But the
    7   crime of receiving stolen assets – the crime equivalent to an encubridor under the
    8   1870 criminal code – is not included in the list of criminal offenses which may give
    9   rise to a legal person’s liability. Id., ¶41.
   10          Plaintiffs attempt to evade this limitation by asserting that the Baron’s
   11   purported knowledge of the wartime taking must be imputed to the Foundation, and
   12   that Foundation is somehow liable under a theory of respondeat superior. Even if
   13   applicable, however, such a theory, could provide only civil – not the requisite
   14   criminal – liability. Id., ¶¶44-49, 52-54. This is evident in every one of the cases
   15   cited by Mr. Guerrero, which reference that knowledge may be imputed to create
   16   civil liability. Guerrero Decl., pages 13-19.
   17          Nor can the Foundation be deemed criminally liable under a theory of
   18   vicarious liability. Plaintiffs assert that the Baron’s purported knowledge of the
   19   Painting’s theft “is imputed to [the Foundation] because, at the time of the 1993
   20   sale of the collection from the Baron to [the Foundation], the Baron and his wife
   21   were both vice-chairpersons of [the Foundation’s] board and the Baron controlled
   22   50% of the seats on [the Foundation’s] Board.” Dkt. No. 375 at 8. This contention,
   23   however, is both factually and legally wrong.
   24          First, as recognized by both the Ninth Circuit and this Court, Favorita was
   25   the seller of the Collection (including the Painting), not the Baron. 862 F.3d at 957
   26   (“In 1993, the Spanish government passed Real Decreto-Ley 11/1993, which
   27   authorized and funded the purchase of the Collection. Spain bought the Collection
   28   by entering into an acquisition agreement with Favorita Trustees Limited.”); 153 F.
                                                        20
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 26 of 31 Page ID #:32744



    1   Supp. 3d at 1152 (“In accordance with Real Decreto-Ley 11/1993, on June 21,
    2   1993, the Kingdom of Spain, the Foundation, and Favorita Trustees Limited entered
    3   into an Acquisition Agreement, by which Favorita Trustees Limited sold the
    4   Collection to the Foundation.”); Pérez de la Sota Decl., ¶¶12, 36, 46, 71, 81.
    5   Plaintiffs’ do not contend that the Baron’s purported knowledge can be imputed to
    6   Favorita, and through Favorita, imputed to the Foundation or to Spain.
    7         Under the loan agreement, the Baron had the right to appoint 1/2 of the
    8   members of the board of trustees – not a majority. Pérez de la Sota Decl., ¶79. The
    9   Baron was made the chairman, but he could not cast a vote. Id. After the 1993
   10   Acquisition, the Thyssen family were entitled to appoint only 1/3 of the members of
   11   the board. Id. While the Baron was the chairman during the loan phase; after the
   12   1993 acquisition, he became an honorary (non-member) chairman. Id. Similarly,
   13   the Baroness was a trustee during the loan phase and became a vice-chairperson
   14   after the 1993 Acquisition. Id. None of these positions gave the Baron or the
   15   Baroness any executive power or control during either the loan phase nor after the
   16   1993 Acquisition. Id. It was Spain (which had to pass a Royal Decree to use public
   17   funds) – not the Foundation – that participated in the negotiation’s leading up to the
   18   1993 Acquisition, making the Foundation’s purported imputed knowledge
   19   irrelevant. Id., ¶12, 71-75. And it was Favorita – not the Baron – that sold the
   20   Collection to Spain, which placed it with the Foundation so that the Collection
   21   could be shared publically.26 Id., ¶¶12, 36, 46, 71, 81.
   22         By its own terms, Article 1956 applies to delay application of Article 1955
   23   only where the possessor is a principal, accomplice, or accessory to a crime.
   24   Because the Foundation was not found to be criminally liable as an accessory – and
   25   26
          Plaintiffs’ vicarious liability theory fails as a matter of Spanish law as, noted
   26   above, the knowing receipt of stolen assets is not one of the limited number of
        criminal offenses from which a legal person can be found criminally liable. de
   27   Buerba Decl., ¶41. Thus, neither theory of indirect liability is applicable; both fail
   28   to rebut Spanish law’s long-established, codified limitation that a legal person –
        such as the Foundation – cannot be held criminally liable as an accessory.
                                                    21
                                                                        DEFENDANT’S TRIAL BRIEF
                                                                       Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 27 of 31 Page ID #:32745



    1   cannot now be found criminally liable as an accessory – Article 1956 cannot, as a
    2   matter of Spanish law, apply. As the Ninth Circuit recognized that Article 1955
    3   vests title in the Foundation if Article 1956 does not apply, 862 F.3d at 965, the
    4   Foundation is the owner of the Painting under Spanish law.
    5                2.     Even if Article 1956 Could Apply, Plaintiffs Cannot
    6                       Demonstrate the Requisite Actual Knowledge
    7         Even if this Court were to ignore Spain’s five-year criminal statute of
    8   limitations – which precludes the Foundation from being charged as an accessory
    9   after June 21, 1998 – to consider whether the Foundation could be a criminal
   10   accessory in 2018, Plaintiffs argument fails, as Plaintiffs cannot demonstrate, as
   11   they must, that the Foundation “knowingly received stolen property when [it]
   12   acquired the Painting from the Baron.” 862 F.3d at 967.
   13         As the Ninth Circuit recognized, Plaintiffs must demonstrate “actual
   14   knowledge” that the Painting was stolen from Lilly Cassirer Neubauer. 862 F.3d at
   15   968 n.17. “Actual knowledge,” under Spanish law, is a high bar. de Buerba Decl.,
   16   ¶¶57-61. The offence of receiving stolen assets must be committed willfully; the
   17   reckless receipt of stolen assets is not categorized as criminal offence. Id., ¶¶57-58.
   18   The Spanish Supreme Court recognized, that in connection with receiving stolen
   19   property, actual knowledge is the “state of mind of certainty, where mere suspicions
   20   or presumptions are not enough, although the one responsible for the concealment
   21   is not required to know the specific circumstances surrounding the punishable act.”
   22   Id., ¶66. Spanish law recognizes a presumption of innocence. Id., ¶67.
   23         Plaintiffs’ red flags and revisionist speculation may have defeated summary
   24   judgment, but they fall far short of demonstrating “actual knowledge.” Without
   25   inferences drawn in their favor, “as required by [the Court’s] summary judgment
   26   rules,” 862 F.3d at 972, Plaintiffs cannot meet their burden. Aside from the
   27   Foundation’s presumption of innocence, the evidence demonstrates that the
   28   Foundation purchased (and has since, maintained, exhibited, and published), the
                                                  22
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 28 of 31 Page ID #:32746



    1   Collection, including the Painting, in good faith and without any knowledge that it
    2   had been part of a forced sale until Claude Cassirer filed a petition in Spain in 2001
    3   – marking the first claim to the Painting since the 1958 Settlement.
    4          There is, however, one person who has provided direct testimony to this
    5   Court who does have “actual knowledge” of the events relating to the sale of the
    6   Collection to Spain and the Foundation. Spanish attorney Fernando Pérez de la Sota
    7   was part of the legal team advising Spain and the Foundation from 1988 through to
    8   the 1993 Acquisition Agreement. Pérez de la Sota Decl., ¶6. In addition to
    9   describing, in detail, the process leading to the acquisition, id., ¶¶7-109, Mr. Pérez
   10   de la Sota testified, under oath, that neither Spain nor the Foundation had
   11   knowledge of the Painting’s theft when the Collection was acquired in 1993 and
   12   they conducted multi-pronged due diligence to ensure that there were no concerns
   13   in acquiring the Collection, with public funds and for public display, id. ¶¶10, 11,
   14   116.
   15          Because Plaintiffs’ “evidence” does not suggest, much less prove, that the
   16   Foundation had actual knowledge of the Painting’s wartime looting until Mr.
   17   Cassirer’s 2001 petition, the Foundation cannot, under any legal theory, be deemed
   18   an encubridor.
   19   III.   LACHES BARS THE CASSIRERS’ CLAIM
   20          Finding the Foundation the owner of the Painting under Spanish laws of
   21   acquisitive prescription, this Court found it unnecessary to address the Foundation’s
   22   argument that the Plaintiffs’ claims are barred by laches.27 This doctrine, however,
   23
        27
   24     During the pendency of the last appeal, Congress enacted the Holocaust
        Expropriated Art Recovery Act of 2016 (“HEAR Act”), H.R. 6130, which created a
   25   uniform, federal six-year statute of limitations. While recognizing that the HEAR
        Act may preclude application of “any defense at law relating to the passage of
   26   time,” Section 5(a), the Ninth Circuit rejected Plaintiffs assertion that the HEAR
        Act barred the Foundation’s acquisitive prescription defense. 862 F.3d at 965. After
   27   the HEAR Act was introduced, it was amended to affirmatively remove prior
   28   references to laches, ensuring the continued “availability of equitable defenses and
        the doctrine of laches.” Senate Report 114-394, December 6, 2016, at 7. Thus, to
                                                   23
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 29 of 31 Page ID #:32747



    1   provides yet another sound basis on which this Court can reject Plaintiffs’ claim.
    2   “Laches is an equitable time limitation on a party’s right to bring suit,” Boone v.
    3   Mech. Specialties Co., 609 F.2d 956, 958 (9th Cir. 1979), resting on the well-
    4   established premise that “one who seeks the help of a court of equity must not sleep
    5   on his rights,” Piper Aircraft Corp. v. Wag-Aero, Inc., 741 F.2d 925, 939 (7th Cir.
    6   1984) (Posner, J., concurring). Courts examine at what point the plaintiff “knew or
    7   should have known” of the claim – a standard that allows a laches defense to be
    8   based on either actual or constructive knowledge. Miller v. Glenn Miller Prods.,
    9   Inc., 454 F.3d 975, 980 (9th Cir. 2006).
   10         Here, Plaintiffs’ predecessors “knew or should have known” of the existence
   11   of their claim long before 2000. Despite the Cassirer family’s prominent role in the
   12   art world, between 1958 and 1999, the they did nothing to protect their strongly-
   13   maintained assertion of ownership after the 1958 settlement. Nicholas Decl., ¶¶162-
   14   65; Stein Decl., ¶¶119, 161. David Cassirer notes that his father, Claude Cassirer,
   15   “always held out hope that Lilly’s Pissarro would be found one day.” D. Cassirer
   16   Declaration, Dkt. No. 410 at 6:27-28. Yet Claude Cassirer testified that he did
   17   nothing until late 1999, when he learned the Painting’s location from a client. Dkt.
   18   No. 403-2, 168:14-171:10; 181:11-182:14.
   19         The Baron and the Foundation reasonably relied on the absence of any
   20   interruption to their public ownership and on Swiss and Spanish law to obtain and
   21   formalize their vested property interests.28 Good faith reliance is evident from the
   22   public nature of the 1993 acquisition, as well as the Painting’s extensive publication
   23   and public exhibition history. Acevedo Decl., ¶¶20, 30-32; Pérez de la Sota Decl.,
   24   ¶¶47,73, 97, 100.
   25
   26   the extent that Plaintiffs’ claims are facially timely under the HEAR Act, they are
        vulnerable to (and barred by) laches.
   27   28
           As noted above, when Spain discovered title issues with two works in the
   28   Collection, those works were excluded from the 1993 Acquisition. Pérez de la Sota
        Decl., ¶109.
                                                    24
                                                                       DEFENDANT’S TRIAL BRIEF
                                                                      Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 30 of 31 Page ID #:32748



    1         Had Plaintiffs’ predecessors taken any action before or during the Baron’s or
    2   the Foundation’s acquisitions and their public, uninterrupted possessions vesting
    3   title (1976-June 21, 1999), Plaintiffs’ post-1958 ownership interest could have been
    4   addressed before Swiss and/or Spanish law vested ownership of the Painting in the
    5   Baron and the Foundation. If Plaintiffs’ predecessors had opened one of the many
    6   books published after the Foundation’s 1993 acquisition that identified the
    7   Painting’s ownership and location, they would have discovered its whereabouts.
    8         But Plaintiffs’ predecessors did nothing for forty years, making no inquiry
    9   until after someone else found the Painting in a book. Now the prior owners are
   10   gone and no one can provide first-hand information regarding the 1958 Settlement
   11   Agreement or any of the transactions that predate the Foundation’s possession and
   12   ownership. Because Plaintiffs’ delay is unreasonable and the Foundation suffers
   13   prejudice as Plaintiffs’ claims go forward, laches bars Plaintiffs’ claims are barred.
   14         Spanish law also recognizes the doctrine of laches, known in Spain as
   15   Verwirkung. Yzquiero Decl., ¶58 n.10. It is premised on the understanding that
   16   good faith requires a party to exercise their rights. Id. Thus, a party in Spain can
   17   raise the affirmative defense that an action is barred as the result of the plaintiff’s
   18   unreasonable delay. Id. But Verwirkung is a secondary defense, raised when the
   19   plaintiff has delayed bringing a claim, but the statute of limitations has not yet run.
   20   Id. Discussed above, Article 1962’s six-year statute of limitations has run. Id. ¶¶57-
   21   58. Thus, as applied here, extinctive prescription mandates that once the statute of
   22   limitations ran on June 21, 1999, Plaintiffs’ claim became time-barred and
   23   “absolute title” vested in the Foundation.
   24                                      CONCLUSION
   25         For the reasons set forth above, the Foundation is the lawful owner of the
   26   Painting.
   27
   28
                                                   25
                                                                         DEFENDANT’S TRIAL BRIEF
                                                                        Case No.: 05-cv-03459-JFW (Ex)
Case 2:05-cv-03459-JFW-E Document 442 Filed 11/26/18 Page 31 of 31 Page ID #:32749



    1   Dated: November 26, 2018               NIXON PEABODY LLP
    2
    3                                          By: /s/Sarah Erickson André
                                                  Thaddeus J. Stauber
    4                                             Sarah Erickson André
                                                  Aaron M. Brian
    5                                             Irene Scholl-Tatevosyan
    6                                             Attorneys for Defendant
                                                  Thyssen-Bornemisza Collection
    7                                             Foundation
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                             26
                                                               DEFENDANT’S TRIAL BRIEF
                                                              Case No.: 05-cv-03459-JFW (Ex)
